                                         UNITED STATES DISTRICT COURT
                      Case 2:11-cr-00295-MCE  DocumentOF
                                      EASTERN DISTRICT 85CALIFORNIA
                                                           Filed 09/23/11 Page 1 of 1

UNITED STATES OF AMERICA                                 )
                                                         )        Case. No. 2:11-CR-00295 MCE
                 v.                                      )
                                                         )
RICHARD ALBERT VARGAS                                    )


                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:        RICHARD ALBERT VARGAS
Detained at (custodian):
Detainee is:             a.)  (X) charged in this district by: (X) Indictment () Information () Complaint
                                      charging detainee with: Conspiracy to defraud the United States, to commit
                                        Marriage Fraud, to make false statements, and conspiracy to induce an
                                        alien to enter and remain in the United States.
                 or       b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)   (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)   () be retained in federal custody until final disposition of federal charges, as a sentence is
                                currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                Signature:                        /s/ DANIEL S. McCONKIE
                                Printed Name & Phone No:          DANIEL S. McCONKIE, Tel: 916-554-2700
                                Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: September 22, 2011                                          /s/ Gregory G. Hollows
                                                                 _____________________________________________
                                                                 Hon. GREGORY G. HOLLOWS
                                                                 United States District/Magistrate Judge
________________________________________________________________________________________________
Please provide the following, if known:
AKA(s) (if applicable):          Richard Albert Vargas                                   Sex: Male
Booking or CDC #:                CDC # 2275456                                           DOB: Jan 26, 1973
Facility Address:                Deuel Vocational Institution (DVI)                      Race:
                                 23500 Kasson Road                                       FBI #:
                                 Tracy, CA 95376
Facility Phone:                  (209)835-4141
Currently Incarcerated For:       Conspiracy to defraud the United States, to commit Marriage Fraud, to make false
statements, and conspiracy to induce an alien to enter and remain in the United States
                                                  RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
